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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
EVEGENIY ARDEMASOV, : CIVIL ACTION NO.
Plaintiff :
- against -
CITIBANK, N.A. : NOVEMBER 6, 2012

Defendant.

- NOTICE OF REMOVAL

Defendant, Citibank, N.A. (“Citibank”), by and through its undersigned attorneys,
hereby invoke this Court’s jurisdiction under the provisions of 28 U.S.C. §§ 1332(a) and
1441, et seq. and state the following grounds in support of the removal of the above-
captioned action from the Superior Court of the State of Connecticut, Judicial District of
Fairfield, to the United States District Court for the District of Connecticut.

1. Plaintiff Evegeniy Ardemasov (“Ardemasov” or “Plaintiff’) instituted the
above-captioned action in the Superior Court of the State of Connecticut, District of
Fairfield, by filing a Complaint on or about October 3, 2012. The Clerk of the Court
assigned this action docket no. CV-12-6015892S (hereinafter referred to as the “State
Action”). Copies of the JD-CV-1 Summons and Complaint in the State Court Case (the
"State Court Pleadings") are attached hereto and constitute all process, pleadings and
orders that have been served upon defendants.

2. The State Court Pleadings were received by Citibank on October 9, 2012.

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3. Removal of the State Action is proper under 28 U.S.C. § 1441, et Seq.,
because the district courts of the United States have original jurisdiction over the State
Action pursuant to 28 U.S.C. § 1332(a)(1).

4. The State Action is between citizens of different states. Plaintiff is a citizen of
Connecticut. (See Complaint § 2). Citibank is domiciled in South Dakota and its
principal place of business is in New York, New York.

5. The amount in controversy in the State Action exceeds $75,000, exclusive of
interest and costs. Plaintiff alleges damages in an amount not less than $500,000.

6. Citibank submits this Notice of Removal without waiving any defenses to
Plaintiffs claims or conceding that Plaintiff has pled any claims upon which relief may
be granted. Further, by filing this Notice of Removal, Citibank does not waive any
defenses with respect to the adequacy or effectiveness of service of process.

7. In accordance with 28 U.S.C. § 1446(b), this Notice of Removal is being filed
with this Court within thirty (30) days after Citibank’s receipt of copies of the State Court
Pleadings by service of process or otherwise.

8. There are no related proceedings pending or recently filed in this Court.

9. Contemporaneous with Citibank’s filing of this Notice of Removal with the
United States District Court for the District of Connecticut, Citibank is filing a Notice to
State Court of Filing of Notice of Removal with the Clerk of the Superior Court of the
State of Connecticut, Judicial District of Fairfield to effect the removal of this action
pursuant to 28 U.S.C. § 1446(d). No proceedings have occurred in the State Action.
Citibank appeared in the State Action for the limited purpose of filing the requisite Notice

to State Court of Filing of Notice of Removal.

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10. Citibank will give written notice to all adverse parties of the filing of this
Notice of Removal, as required by 28 U.S.C. § 1446(d), pursuant to defendants’ Notice to

Adverse Party of Removal, a copy of which is attached hereto.

WHEREFORE, Citibank respectfully requests that the State Action be removed
from the Superior Court of the State of Connecticut, Judicial District of Fairfield to the

‘United States District Court for the District of Connecticut.

DEFENDANT,
CITIBANK,

By had ————— =>

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CERTIFICATION OF SERVICE

I hereby certify that on the date hereof, a copy of the foregoing was served by first

class U.S. mail, postage prepaid, upon all counsel and pro se parties of record, as follows:

Albert Feinstein, Esq.

Law Offices of Albert Feinstein
1500 Broadway, Suite 1900
New York, New York 10036

Counsel for Evgeniy Ardemasov

A) —

/ Noah M. Weissman

 

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